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            EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           Case No. 1:22-cv-329-BLW

       Plaintiff,

v.

THE STATE OF IDAHO,

       Defendant.



                             [PROPOSED/FALL-BACK] ORDER

       Upon consideration of the United States’ Motion for a Preliminary Injunction, and the

parties’ respective submissions in support thereof and in opposition thereto, the Court hereby

grants ORDERS that the the United States’ motion is GRANTED to the extent set forth below and

otherwise denies it..

       It is FURTHER ORDERED that the State of Idaho, including all of its officers, employees,

and agents, are preliminarily enjoined from enforcing Idaho Code § 18-622(2)-(3) to the extent,

but only to the extent, that such enforcement will actually prohibit, preclude, or unduly interfere

with medical treatment (i) that is provided “to stabilize” (within the meaning of as applied to

medical care required by the Emergency Medical Treatment and Labor Act (“EMTALA”), 42

U.S.C. § 1395dd(e)d(3)(A)) and (ii) that is provided in a “hospital” (within the meaning of

EMTALA, 42 U.S.C. § 1395dd(e)(5))..As used in the previous sentence, “enforcing” and

“enforcement” mean and encompass only actual conduct the purpose and effect of which is to

threaten or prosecute
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        It is FURTHER ORDERED that the State of Idaho, including all of its officers, employees,

and agents, are specifically prohibited from initiating any criminal proceedingsecution against, or

attempting to suspend or revoke the professional license of, or seeking to impose any other form

of liability on, any medical provider or hospital based on their provision of medical treatment

constituting performance of conduct that is defined as an “abortion” (within the meaning of under

Idaho Code § 18-604(1)) when, but only when, that treatment is of an “emergency medical

condition” (within the meaning of EMTALA, 42 U.S.C. § 1395dd(e)(1)) and the withholding of

that treatment “could reasonably be expected to result in— …, but that is necessary to avoid: (i)

“placing the health of” a pregnant patient “in serious jeopardy”; (ii) a “serious impairment to

bodily functions or … ” of the pregnant patient; or (iii) a “serious dysfunction of any bodily organ

or part”” of “a the pregnant woman” (within the meaning of EMTALA, patient, pursuant to 42

U.S.C. § 1395dd(e)(1)(A)(ii)-(iii)).

SO ORDERED.

//end of text//

                                                                     Submitted by: Lisa Newman
                                                                     Counsel for the United States




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